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                                                                         Attorneys for Relief Defendant Leanne Rodgers,
                                                                    11   Oxford Financial LLC, and Mowab, Inc.
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                                                                    12                                 UNITED STATES DISTRICT COURT
                                                                                                        FOR THE DISTRICT OF NEVADA
                                                                    13

                                                                    14   FEDERAL TRADE COMMISSION,                            Case No.:     2:11-cv-00283-JCM-GWF
                                                                              Plaintiff,
                                                                    15   v.
                                                                                                                                  [PROPOSED] ORDER GRANTING
                                                                    16   IVY CAPITAL, INC. et al.,                                   MOTION TO PRECLUDE
                                                                              Defendants, and                                     ENFORCEMENT OF JUDGMENT
                                                                    17   CHERRYTREE HOLDINGS, LLC, et al.,
                                                                    18        Relief Defendants.

                                                                    19             The Court, having considered the Motion for Relief and/or Modification of Judgment
                                                                    20   to Preclude Enforcement [Fed. R. Civ. P. 60(b)] (ECF No. 509) filed by Relief-Defendant
                                                                    21
                                                                         Leanne Hoskins (“Rodgers”), 1 the Response to Rodgers’ Motion filed by the Plaintiff Federal
                                                                    22
                                                                         Trade Commission (“FTC”) (ECF No. 511), the Reply to the FTC’s Response filed by
                                                                    23

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                                                                             Leanne Hoskins is now known as Leanne Rodgers.

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                                                                         Rodgers (ECF No. 514), and for good cause appearing, hereby FINDS and ORDERS as
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                                                                     2   follows:

                                                                     3                                       LEGAL STANDARD

                                                                     4          Federal Rule of Civil Procedure 60(b) provides that a court may relieve a party from
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                                                                         judgment on the basis of: (1) mistake, inadvertence, surprise, or excusable neglect; (2) newly
                                                                     6
                                                                         discovered evidence that, with reasonable diligence, could not have been discovered in time
                                                                     7
                                                                         to move for a new trial under Rule 59(b); (3) fraud, misrepresentation, or misconduct by an
                                                                     8
                                                                         opposing party; (4) a judgment that is void; (5) a judgment that has been satisfied, released,
                                                                     9
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                                                                    10   or discharged; or (6) any other reason that justifies relief. Fed. R. Civ. P. 60(b). “Relief under
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                                                                    11   Rule 60(b)(6) will not be granted unless the moving party is able to show both injury and
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                                                                    12   circumstances beyond its control prevented timely action to protect its interest.” Gardner v.
                                                                    13
                                                                         Martino, 563 F.3d 981, 991 (9th Cir. 2009). The rule “gives the district court power to vacate
                                                                    14
                                                                         judgments whenever such action is appropriate to accomplish justice.” Henson v. Fid. Nat’l
                                                                    15
                                                                         Fin., Inc., 943 F.3d 434, 439 (9th Cir. 2019) (international quotations omitted).
                                                                    16

                                                                    17                                             FINDINGS

                                                                    18          In 2013 the Court entered judgment against Rodgers in the amount of $1,128,795.78

                                                                    19   plus prejudgment interest in the amount of $6,830.90. (ECF No. 409 at 8). Following an
                                                                    20   appeal, the Court amended its judgment in January 2016 and determined Rodgers and
                                                                    21
                                                                         Defendant Oxford Financial, LLC were jointly and severally liable for a total amount of
                                                                    22
                                                                         $1,529,292.52. (ECF No. 446). Rodgers failed to satisfy the judgment.
                                                                    23
                                                                                Ten years after the judgment was entered, the FTC began its attempt in June 2023 to
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                                                                    25   garnish bank accounts held by Rodgers and six other separate entities, none of which were

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                                                                         judgment debtors.2 The FTC also moved to collect on the judgment by attempting to execute
                                                                     1

                                                                     2   on real property in Las Vegas, Nevada owned by the Hambil Trust, which also is not a

                                                                     3   judgment debtor.

                                                                     4           Rodgers moved for relief from further enforcement of the judgment under FRCP
                                                                     5
                                                                         60(b), asserting the FTC’s recent enforcement attempts are inequitable (FRCP 60(b)(5)) and
                                                                     6
                                                                         that relief from the judgment is justified (FRCP 60(b)(6)), as more than ten years have passed
                                                                     7
                                                                         since the court’s entry of judgment. Rodgers argues that regardless of her motion’s merits,
                                                                     8
                                                                         enforcement of the judgment is barred by the applicable limitations period. The court concurs.
                                                                     9
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                                                                    10   Pursuant to Federal Rule of Civil Procedure 69, execution on judgments “must accord with
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                                                                    11   the procedure of the state where the court is located, but a federal statute governs to the extent
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                                                                    12   it applies.” Fed. R. Civ. P. 69(a)(1). In Nevada, there is a six-year limitation period for any
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                                                                         “action upon a judgment or decree of any court of the United States.” NRS 11.190(1)(a). In
                                                                    14
                                                                         the FTC’s action against Rodgers, there is no applicable federal statute governing the
                                                                    15
                                                                         execution of the judgment. Accordingly, Nevada’s six-year limitation applies.
                                                                    16

                                                                    17           The judgment the FTC seeks to enforce against Leanne was entered against her in

                                                                    18   2013. (ECF No. 409). The FTC began seeking writs of continuing garnishment and execution

                                                                    19   directed at Rodgers’ bank accounts in June of 2023, well after the applicable six-year
                                                                    20   limitation period. (ECF Nos. 478-481). Under Nevada law, the FTC’s actions are unlawful
                                                                    21
                                                                         and violative of the period of limitation for enforcement of judgments. See NRS 11.190(1)(a).
                                                                    22

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                                                                         2
                                                                           The non-judgment debtors the FTC attempted to garnish included: (1) PWG CL LLC, (2) Savoy Enterprises,
                                                                    26   (3) Keystone Law Office LLC, (4) Circa 1857 LLC, (5) Basin Consulting Group Ltd., and (6) Natuurs Direct
                                                                         LLC.

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                                                                                 The FTC argues that the Federal Debt Collection Procedures Act (“FDCPA”) applies
                                                                     1

                                                                     2   to the collection of this judgment and does not limit the time for enforcement. (ECF No. 511

                                                                     3   at 9-10). The Court finds that the case cited by the FTC to support its argument that the

                                                                     4   FDCPA preempts state law in this situation, FTC v. Namer, 481 F. App’x 958, 959 (5th Cir.
                                                                     5
                                                                         2012, is not binding on the Court as it is a case from the Fifth Circuit.
                                                                     6
                                                                                 The Court further finds that the Ninth Circuit case cited by the FTC is inapposite to
                                                                     7
                                                                         the case at hand. In United States v. Gianelli, 543 F.3d 1177 (9th Cir. 2008), the Ninth Circuit
                                                                     8
                                                                         held that “[t]he FDCPA provides no time limit for the collection of debts by writ of execution.”
                                                                     9
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                                                                    10   Id. at 1183 (internal citation omitted). Gianelli is not applicable to the pertinent facts of this
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                                                                    11   action, as the defendant in Gianelli was charged with multiple counts of mail fraud and
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                                                                    12   conspiracy. Id. at 1181. The judgment entered against the defendant, unlike in this case, was
                                                                    13
                                                                         criminal, not civil. Id. The defendant was ordered to pay $125,000 in restitution to the United
                                                                    14
                                                                         States. Id.
                                                                    15
                                                                                 The court in Gianelli clarified that the scope of the FDCPA is limited to collection of
                                                                    16

                                                                    17   debts owed to the federal government. Id. at 1183.Here, the purpose of execution and

                                                                    18   disgorgement is to refund any ill-gotten gains to consumers, not the federal government. (ECF

                                                                    19   No. 1). Unlike in Gianelli, the federal entity, which in this case is the FTC, is not owed any
                                                                    20   money. The FDCPA thus does not preempt the Nevada period of limitation, and further
                                                                    21
                                                                         enforcement of the judgment is barred by Nevada’s limitation period on enforcement of
                                                                    22
                                                                         judgments. See NRS 11.190(1)(a).
                                                                    23
                                                                                 In light of the foregoing, the Court FINDS that the FTC’s efforts to enforce the
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                                                                    25   judgment violate Nevada’s period of limitation governing enforcement of a judgment, and the

                                                                    26   FDCPA does not apply to the instant matter.

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                                                                                                                  ORDER
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                                                                     2          THE COURT HEREBY ORDERS that the judgment entered against Leanne Rodgers

                                                                     3   and Oxford Financial, LLC as ECF No. 409 and amended as ECF No. 446 is of no further

                                                                     4   force or legal effect, as any attempt to enforce the judgment is barred by Nevada’s six-year
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                                                                         period of limitation governing enforcement of a judgment. Accordingly, the FTC may no
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                                                                         longer seek to collect or enforce the judgment against Rodgers or Oxford Financial, LLC, and
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                                                                         any liens against or affecting real property or other recordings of the judgment shall be
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                                                                         released by the FTC within twenty-one (21) days of the date of this Order.
                                                                     9
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                                                                                   DATED August 20, 2024.
                                                                    10
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                                                                    11
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                                                                                                                      UNITED STATES DISTRICT JUDGE
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                                                                         Respectfully Submitted by:
                                                                    15   SLIGHTING LAW
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                                                                    23   Attorneys for Relief Defendant Leanne
                                                                         Rodgers,Oxford Financial LLC, and
                                                                    24   Mowab, Inc.

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                                                                     1          I hereby certify that, pursuant to LR 7-2(f), the foregoing [Proposed] Order Granting
                                                                     2
                                                                         Motion to Preclude Enforcement of Judgment was emailed to counsel for the Federal Trade
                                                                     3
                                                                         Commission (“FTC”) on August 16, 2024 for approval as to form. Counsel for the FTC
                                                                     4
                                                                         responded on August 19, 2024 that the “proposed order accurately reflects what the Court
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                                                                     6   wrote in ECF No. 525.” The FTC noted in its responding email that it “[opposes the proposed

                                                                     7   order]” on the grounds that “it is contrary to the law.” It is my understanding that the FTC will

                                                                     8   not be submitting a competing proposed order.
                                                                     9                                                         /s/ Bradley S. Slighting
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